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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

FRANK’S CASING CREW AND                        §
RENTAL TOOLS, INC. AND FRANK’S                 §
INTERNATIONAL, INC.                            §
                                               §
       Plaintiffs,                             §
                                               §
       v.                                      §   CIVIL ACTION NO. 2:07-CV-15
                                               §
TESCO CORPORATION AND TESCO                    §   JURY TRIAL DEMANDED
CORPORATION (US),                              §
                                               §
       Defendants.                             §

                                               §
ROBERT P. APPLETON                             §
                                               §
       Consolidated Plaintiff,                 §
                                               §
       v.                                      §
                                               §
FRANK’S CASING CREW AND                        §   (CONSOLIDATING CIVIL ACTION NO.
RENTAL TOOLS, INC. AND FRANK’S                 §   2:08-CV-239)
INTERNATIONAL, INC.                            §
                                               §
                                               §
       Consolidated Defendants.                §

                        ORDER OF DISMISSAL WITH PREJUDICE

       This Court, in response to the Joint Motion of All Parties for Dismissal With Prejudice,

namely, Frank’s Casing Crew and Rental Tools, Inc., Frank’s International, Inc., Tesco

Corporation, Tesco Corporation (US), and Robert P. Appleton, does hereby grant the motion. It

is therefore

       ORDERED, subject to and in accordance with that certain settlement agreement among

the parties, that these actions (Civil Action Nos. 2:07-cv-15 and 2:08-cv-239), including all
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claims, affirmative defenses, counterclaims, and third party claims, are hereby dismissed with

prejudice. Each party shall bear its own fees, expenses, and costs.

        SIGNED this 4th day of June, 2009.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE
